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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                      Case No.


 ENRIQUE MADRINAN,

                              Plaintiff,
 v.

 CHEESECAKE FACTORY RESTAURANT INC.,

                   Defendant.
 ________________________________/
                                                  COMPLAINT

            Plaintiff, ENRIQUE MADRINAN, (hereinafter “Plaintiff”) by his undersigned, hereby

 files this Complaint and sues, CHEESECAKE FACTORY RESTAURANT INC., (hereinafter

 “Defendant or Dragonfly”) for injunctive relief pursuant to the Americans with Disabilities Act,

 42 U.S.C. § 12181, et seq., and 42 U.S.C. §12131-12134 (hereinafter the “A.D.A”), the ADA’s

 Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), the Florida Americans

 With Disabilities Accessibility Implementation Act and the Florida Accessibility Code for

 Building Construction1 (hereinafter collectively referred to as “FACBC”).

                                                 JURISDICTION

            1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

 violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

            2.      This Court also has pendant jurisdiction over all State law claims pursuant to Title

 28 U.S.C. § 1367(a).



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     Florida Statutes §§ 553.501 through 553.513 and Florida Building Code Chapter 11.


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        3.      Venue in this district is proper under Title 28 U.S.C. § 1391, since all acts or

 omissions giving rise to this action occurred in the Southern District of Florida, Broward County,

 Florida, and the subject Premises is located in Broward County, Florida.

                                               PARTIES

        4.   Plaintiff, Enrique Madrinan, is a resident of the State of Florida, is sui juris, and is a

 qualified individual under the ADA and the FACBC who has been intentionally denied access to

 the Subject Premises as set forth more fully herein, and who will continue to be intentionally

 denied such access without the injunctive relief requested herein.

        5.   Plaintiff Madrinan is limited in one or more major life activities, as a result of a severe

 spinal cord injury which requires him to use a wheelchair to ambulate and who retains limited

 manual dexterity.

        6.      Mr. Madrinan is a father, college graduate and professional who frequently travels

 locally and internationally, dines out often in his personal and professional capacities, and is also

 an actively social, fiercely independent, highly educated, professionally licensed individual.

        7.   Mr. Madrinan visited the Cheesecake Factory, the property which forms the basis of

 this lawsuit, on July 10, 2019, but was unable to access bar counter within the facility, where there

 are no accessible tables.

        8.      Mr. Madrinan, a resident of South Florida who resides lives in proximity to the

 restaurant, will return to the subject premises once the architectural barriers to access and

 discriminatory policies and procedures violating the ADA and the FACBC are no longer present.

        9.      Similar to most able-bodied patrons, Mr. Madrinan and looks forward to revisiting

 the facility to partake in the full and equal enjoyment of the amenities, goods, services, facilities,

 privileges, advantages and accommodations offered to the general public by this facility. However,



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 Plaintiff, Madrinan, is deterred from returning so long as the discriminatory barriers and policies

 described herein continue to exist at the Premises.

         10.     The facility is in an area frequently traveled by Plaintiff.

         11.     Mr. Madrinan has his own vehicle and does drive. He has visited the property,

 which forms the basis of this lawsuit and plans to return to the property to avail himself of the

 goods and services offered to the public at the property, and to determine whether the property

 has been made ADA compliant. His access to the facility and/or full and equal enjoyment of the

 goods, services, facilities, privileges, advantages, and/or accommodations offered therein was

 denied and/or limited because of these disabilities, and will be denied and/or barriers to access

 and ADA violations which exist at the facility, including but not limited, to those set forth in the

 Complaint.

         12.     Independent of his personal desire to have access to this place of public

 accommodation free of illegal barriers to access Plaintiff is an advocate of the rights of similarly

 situated disabled persons and an advocate of asserting his civil rights. In this instance, Plaintiff,

 in Plaintiff's individual capacity has visited the Premises, encountered barriers to access at the

 Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the

 violations of the ADA set forth herein. It is Plaintiff's belief that said violations will not be

 corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

 near future.

         13.     Defendant, CHEESECAKE FACTORY RESTAURANT INC., transacts business




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 in the State of Florida and within this judicial district. Defendant is the owner and/or

 representative of the owners of the Cheesecake Factory, which is the subject of this action,

 located on or about 14559 SW 5th Street, Pembroke Pines, FL (hereinafter the “Facility”).

          14.      Upon information and belief there are numerous Cheesecake Factory’s that the

 owners have opened and therefore they should be well versed in the requirements of the ADA.

          15.      Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General, published revised regulations for Title III

 of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

 requirements of the ADA (hereinafter “STANDARDS”). Public accommodations were required

 to conform to these regulations on or before March 15, 2012.1

          16.      Pursuant to 28 CFR part 36.406(a)(3) this facility was required to provide an

 accessible bar counter and accessible table seating spaces consistent with 2010 Standard § 902.

          17.      Pursuant to 28 CFR § 36.401(a), the facility was required to provide an accessible

 forward approach to a designed-integrated lowered section of any and all bar counters to be

 accessible in relation to the respective total number of standing and seating spaces at the bars as

 of the date of first occupancy and otherwise fully comply with 2010 ADA Standard § 902, 904,

 305 and 306.

          18.      The 2010 ADA Standards have been fully noticed, are readily available and easily

 referenced at 36 CFR § 1191, et seq., and consist of the 2004 ADAAG and the requirements

 contained in subpart D of 28 CFR part 36.




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   "Safe Harbor. Elements that have not been altered in existing facilities on or after March 15, 2012, and that comply
 with the corresponding technical and scoping specifications for those elements in the 1991 Standards are not
 required to be modified in order to comply with the requirements set forth in the 2010 Standards" 28 CFR
 §36.304(d)(2)(i), however, the violations described herein violate both the 1991 Standards as well as the 2010
 Standards.

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         19.     Pursuant to 28 CFR part 36.406(a)(3), this facility is required to comply with the

 2010 ADA Standards of the date when the last application for a building permit or permit extension

 is certified to be complete by a State, county, or local government (or, in those jurisdictions where

 the government does not certify completion of applications, if the date when the last application

 for a building permit or permit extension is received by the State, county, or local government) is

 on or after March 15, 2012, or if no permit is required, if the start of physical construction or

 alterations occurs on or after March 15, 2012.

         20.     Defendants knew or should have known that the common seating design modules

 and schemes approved and used by Defendant fail to provide adequate and sufficient accessible

 seating within all areas of the facility.

         21.     Plaintiff alleges that Defendant uniformly approved the use of these unlawful

 design modules/schemes at their facility’s bar counters intentionally disregarding the accessibility

 requirements of the ADA.

         22.     Plaintiff alleges that Defendant approved and utilized these inaccessible modular

 structures to ensure uniformity of design, feel and functionality at its location which purposely

 exclude individuals who require a wheelchair to ambulate, including the instant Plaintiff.

         23.     Plaintiff further alleges that Defendant’s in-house design committee

 approved the use of the inaccessible common design of the seating with deliberate and indifference

 to, and disregard for, Plaintiff and those similarly situated.

         24.     Plaintiff further alleges that Defendant’s in-house design committees uniformly

 created a policy of using inaccessible tables and bars throughout this facility, thereby further

 serving to isolate Plaintiffs, both physically and emotionally, and denying them the full enjoyment

 of the amenities, services, privileges, activities and accommodations of the facility.



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        25.     As a result, and for additional reasons set forth herein, it cannot reasonably be

 denied that the Defendant has intentionally discriminated against these Plaintiffs and all those

 similarly situated.

        26.     The egregiousness of Defendant’s offending conduct, including the existence of

 discriminatory policies and procedures, combined with denying access to individuals with

 disabilities such as the Plaintiffs and others similarly situated, compel this Court to retain

 continuing jurisdiction and oversight over this action until it is absolutely clear the offending

 conduct set forth herein cannot reasonably be repeated and Defendant be allowed to return to their

 discriminatory ways, including re-implementing discriminatory policies and procedures.

        27.     The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is structurally practicable. 42 U.S.C. §12183(a)(1).

        28.     The Defendant’s facility is a public accommodation and service establishment,

 and although required by law to do so, it is not in compliance with the ADA and ADAAG.

        29.     In this instance, on July 10, 2019, Mr. Madrinan visited the facility and

 encountered barriers to access at the facility, and engaged barriers, suffered legal harm and

 injury, and will continue to suffer legal harm and injury as a result of the illegal barriers to

 access, and Defendants’ ADA violations set forth herein.

        30.     Plaintiff has suffered and continues to suffer direct and indirect injury as a result

 of the ADA violations that exist at the facility and the actions or inactions described herein.

        31.     All events giving rise to this lawsuit occurred in the State of Florida. Venue is

 proper in this Court as the premises are located in the Southern District.

                            FACTUAL ALLEGATIONS AND CLAIM

        32.     Mr. Madrinan has attempted to and has, to the extent possible, accessed the



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 facility, but could not do so because of his disabilities due to the physical barriers to access,

 dangerous conditions and ADA violations that exist at the facility that restrict and/or limit his

 access to the facility and/or the goods, services, facilities, privileges, advantages and/or

 accommodations offered therein, including those barriers, conditions and ADA violations more

 specifically set forth in this Complaint.

         33.     Mr. Madrinan intends to visit the facility again in the near future in order to utilize

 all of the goods, services, facilities, privileges, advantages, and/or accommodations commonly

 offered at the facility, but will be unable to do so because of his disability due to the physical

 barriers to access, dangerous conditions and ADA violations that exist at the facility that restrict

 and/or limit his access to the facility and/or accommodations offered therein, including those

 barriers conditions and ADA violations more specifically set forth in this Complaint.

         34.     Defendant has discriminated against Plaintiff and others with disabilities by

 denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

 advantages and/or accommodations of the facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

 and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv),

 and will continue to discriminate against Plaintiff and others with disabilities unless and until

 Defendant is compelled to remove all physical barriers that exist at the facility, including those

 specifically set forth herein, and make the facility accessible to and usable by persons with

 disabilities, including Plaintiff.

         35.     Defendant has discriminated against Mr. Madrinan by failing to comply with the

 above requirements. A specific, although not exclusive, list of unlawful physical barriers,

 dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because




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 of his disability) to access the facility and/or full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and/or accommodations of the facility include:

                             BAR & BAR AREA

                          i. There are no permanent accessible seating spaces at the bar counter.
                         ii. There are no permanent accessible seating spaces near the bar counter.
                        iii. There are insufficient permanent accessible seating spaces in
                             relation to the total number of seating spaces available throughout the
                             facility.
         36.     The above listing is not to be considered all-inclusive of the barriers, conditions or

 violations encountered by Plaintiff and/or which exist at the facility. Plaintiff requires an

 inspection of the facility in order to determine all of the discriminatory acts violating the ADA.

         37.     Mr. Madrinan has attempted to gain access to the facility, but because of his

 disability has been denied access to, and has been denied the benefits of services, programs, and

 activities of the facility, and has otherwise been discriminated against and damaged by

 Defendant, because of the physical barriers, dangerous conditions and ADA violations set forth

 above, and expects to be discriminated against in the future, unless and until Defendant is

 compelled to remove the unlawful barriers and conditions and comply with the ADA.

         38.     The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is readily achievable and can be accomplished and carried out without much

 difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

 36.304.

         39.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until

 Defendants are required to remove the physical barriers, dangerous conditions and ADA

 violations that exist at the facility, including those set forth herein.

         40.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

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 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

         41.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendant from continuing is discriminatory practices, ordering Defendant

 to remove the physical barriers to access and alter the subject facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA,

 closing the subject facility until the barriers are removed and requisite alterations are completed,

 and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

 incurred in this action.


                                                 Respectfully submitted,

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